            Case 3:20-cv-01235-PAD Document 78 Filed 09/25/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



 SANDRA RODRÍGUEZ COTTO;
 RAFELLI GONZÁLEZ COTTO,

                 Plaintiffs,
                                                          Civil Action No.: 3:20-01235-PAD
         v.

 WANDA VÁZQUEZ GARCED, Governor of
 Puerto Rico; INÉS DEL C. CARRAU-
 MARTÍNEZ, Interim Secretary of
 Department of Justice of Puerto Rico;
 PEDRO JANER, Secretary of Puerto Rico
 Department of Public Safety; HENRY
 ESCALERA, Puerto Rico Police
 Commissioner, all in their official capacities,

                 Defendants.



                JOINT MOTION IN COMPLIANCE WITH COURT ORDER
       COME NOW Plaintiffs and Defendants, through their undersigned attorneys, and

respectfully state as follows:

       1.       In its text Order of September 22, 2020, Dkt. No. 77, the Court ordered the parties

to confer and advise the Court on what the next steps should be in the litigation.

       2.       Having met and conferred, the parties now respectfully advise the Court that they

believe the Court should conduct an argumentative hearing on Plaintiffs’ renewed motion for

preliminary injunction, Dkt. No. 48.

       3.       As the parties’ briefs make clear, they agree that the presence or absence of chill to

Plaintiffs’ journalistic sources is irrelevant to the standing analysis. See Dkt. No. 50 at 16; Dkt.

No. 62 at 7; Dkt. No. 70 at 6; Dkt. No. 74 at 2. The parties therefore respectfully submit that
              Case 3:20-cv-01235-PAD Document 78 Filed 09/25/20 Page 2 of 3




 Plaintiffs’ motion for preliminary injunction can be resolved on the record currently before the
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 Court without resort to discovery or an evidentiary hearing.

         4.       The parties accordingly propose that the Court hold a hearing on Plaintiffs’ renewed

 motion for preliminary injunction to address any questions the Court might have regarding the

 parties’ submissions.

         I HEREBY CERTIFY that the undersigned attorney electronically filed the foregoing with

the Clerk of the Court, which will send notification of such filing to the parties subscribing to the

CM/ECF System.

         RESPECTFULLY SUBMITTED.

         In San Juan, Puerto Rico, this 25th day of September 2020.

                                                        S/ Fermin L. Arraiza-Navas
                                                        #215705
                                                        William Ramirez-Hernández+
                                                        American Civil Liberties Union
                                                        of Puerto Rico
                                                        Union Plaza, Suite 1105
                                                        416 Avenida Ponce de León
                                                        San Juan, Puerto Rico 00918
                                                        (787) 753-9493
                                                        (646) 740-3865
                                                        farraiza@aclu.org

                                                        Brian Hauss*
                                                        Emerson Sykes+
                                                        Arianna Demas+
                                                        ACLU Foundation
                                                        125 Broad Street, 18th Floor
                                                        New York, New York 10004

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   However, if the Court were to find that the allegations regarding the journalistic sources, were
 still a central issue in the instant case for the standing inquiry, Defendants reserve the right to
 request a limited discovery and an evidentiary hearing to address that matter. Further, if the court
 were to address the merits of the preliminary injunction and make factual determinations that were
 not stipulated, defendants reserve the right to request a limited discovery and an evidentiary
 hearing. Plaintiffs reserve the right to rely on all the evidence in the record.

                                                   2
       Case 3:20-cv-01235-PAD Document 78 Filed 09/25/20 Page 3 of 3




                                                 (212) 549-2500
                                                 bhauss@aclu.org

                                                 *Pro hac vice
                                                 + Of counsel

                                                 Attorneys for Plaintiffs




INÉS DEL CARMEN CARRAU MARTÍNEZ                       /s/ Juan C. Ramírez-Ortiz
Interim Secretary of Justice                          JUAN C. RAMÍREZ-ORTIZ
                                                      USDC-PR No. 306507
WANDYMAR BURGOS-VARGAS                                Department of Justice of Puerto Rico
Deputy Secretary in Charge of Litigation              Federal Litigation Division
                                                      PO Box 9020192
SUSANA I. PEÑAGARÍCANO-BROWN                          San Juan, PR 00902-0192
Director of Legal Affairs                             Phone: (787)721-2900, ext. 1421
Federal Litigation and Bankruptcy Division            juramirez@justicia.pr.gov

                                                      /s/Joel Torres Ortiz
                                                      JOEL TORRES ORTIZ
                                                      USDC-PR No. 302311
                                                      Department of Justice of Puerto Rico
                                                      Federal Litigation Division
                                                      PO Box 9020192
                                                      San Juan, PR 00902-0192
                                                      Tel. (787) 721-2900, ext. 1421 & 1412
                                                      joeltorres@justicia.pr.gov




                                 Attorneys for Defendants




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